                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF IOWA
                              CEDAR RAPIDS DIVISION

DEBORAH A. BAMRICK,                        )
                                           )
       Plaintiff,                          )
                                           )
vs.                                        )      No. 6:11-cv-02050-LRR
                                           )
SAM’S WEST, INC.,                          )
                                           )
       Defendant.                          )

                           COMPLAINT AND JURY DEMAND

       COMES NOW Plaintiff Deborah A. Bamrick (“Bamrick”) and states and alleges as
follows:

       1.       This action arises under the Americans with Disabilities Act of 1990 (ADA),
as amended by the ADA Amendments Act of 2008, 42 U.S.C. § 12101, et. seq.; Title VII
of the Civil Rights Act of 1964 (Title VII); and the Iowa Civil Rights Act, Iowa Code Chapter
216. Bamrick alleges that she is a person with a disability within the meaning of the ADA,
as amended, and the Iowa Civil Rights Act. Bamrick further alleges that the Defendant
wrongfully discriminated against her when it terminated her employment on or about June
14, 2010.

     2.    Bamrick seeks damages for back pay and front pay, federal and state
compensatory damages, punitive damages, and attorney fees and costs.


                                      JURISDICTION

        3.     This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.
§ 1331, 42 U.S.C. §12101, Title VII of the Civil Rights Act of 1964, and supplemental
jurisdiction under 28 U.S.C. § 1367.


                                          VENUE

        4.    Venue is appropriate in this judicial district pursuant to 28 U.S.C. § 1391(b)
in that Defendant does business in this district, and the events that give rise to this claim
occurred in this district.




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                               ADMINISTRATIVE COMPLIANCE

        5.      Bamrick filed a timely charge of employment discrimination on the basis of
disability and retaliation with the Equal Employment Opportunity Commission (“EEOC”) and
the Iowa Civil Rights Commission (“ICRC”) within 300 days of the alleged employment
discrimination (Iowa CP # 11-10-59874, EEOC # 26A-2011-00135C).

          6.      Bamrick has complied with all administrative prerequisites for initiating this
action.

       7.    The EEOC and the ICRC have issued Right-to-Sue Letters, copies of which
are attached hereto as Exhibits A and B.


                                            PARTIES

       8.   At all times material to this action, Bamrick resided in Hiawatha, Linn County,
Iowa, and was an employee of Sam’s West, Inc., (“Sam’s”) at its store #8162 located in
Cedar Rapids, Iowa.

      9.    Sam’s is a corporation incorporated under the laws of the State of Arkansas,
and doing business in Cedar Rapids, Iowa.

      10.   Sam’s is a person within the meaning of 42 U.S.C. § 12111(7) and Iowa
Code § 216.2(11).

      11.   Sam’s is an employer within the meaning of 42 U.S.C. § 12111(5) and Iowa
Code § 216.2(7).

      12.   Sam’s employed more than 20 employees for each working day for more
than 20 weeks during the current or preceding calendar year.


                                              FACTS

        13.    Bamrick suffered an on-the-job injury to her low back in 1997. Since recovery
from that injury and surgery she has been subject to certain work restrictions. Those
restrictions have remained unchanged since that time.

      14.    Bamrick was employed at Sam’s Store #8162 continuously from the fall of
2001 until her termination on or about June 14, 2010. Prior to that she had worked a
number of years at other stores owned by Sam’s.

      15.   During her 9 years of employment at Store #8162 Bamrick always worked in
the Photo Center. While her job titles changed, her essential job duties remained mostly
the same.

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       16.    Sam’s initially accommodated Bamrick’s disability. These accommodations
consisted of (1) installing floor mats over the concrete floor in her work area, and (2)
allowing her the use of a chair or stool during certain periods of machine operation.

       17.    On or about May 6, 2010 Bamrick was informed that if she wanted to keep
using the stool she would need to get approval from company headquarters.

      18.   Bamrick thereafter sought such approval. On or about May 18, 2010 that
approval was denied.

      19.   On or about June 10, 2010, Bamrick appealed the denial of her request for
accommodation pursuant to company procedures. On or about the same day she filed her
appeal she was removed from her job by her employer.

       20.    At all times before and after Sam’s removed her from her job Bamrick was
a qualified person and was able to perform the essential functions of her position, with or
without reasonable accommodation.

       21.    Beginning in June, 2010 Sam’s refused to accommodate Bamrick and
instead terminated her from further employment as Photo Center/Connection Center Team
Lead.

      22.    The real reason, or part of the real reason Sam’s terminated Bamrick and
refused to accommodate her was because of her disability.

      23.     Sam’s retaliated against Bamrick for seeking accommodation by terminating
her position.

      24.    Sam’s conduct in refusing to accommodate Bamrick and in discriminating
against her based upon her disability and her pursuit of protected activity, was willful,
wanton, reckless and malicious.


                             COUNT I – VIOLATION OF ADA

        25.   Bamrick restates and realleges paragraphs 1-24 of the Complaint as if fully
set forth herein.

      26.      At all times relevant, Bamrick had one or more physical impairments that
substantially limited one or more of her major life activities, and also had a record of having
such an impairment or impairments.

      27.    At all times relevant, Bamrick was a qualified individual with a disability as
defined by 42 U.S.C. §12111(8).


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       28.    Defendant Sam’s discriminated against Bamrick by refusing to accommodate
her and in retaliating against her for seeking accommodation and/or for appealing the
denial of her accommodation request.

          29.   Defendant Sam’s acted with malice or with reckless indifference to Bamrick’s
rights.

       30.    As a direct result of Sam’s discrimination, Bamrick has suffered – and
continues to suffer – past lost wages, future lost wages, emotional distress, humiliation,
and pain and suffering.

        WHEREFORE, Plaintiff Deborah A. Bamrick respectfully requests that her
Complaint proceed to trial by jury, and upon trial thereof, the Court (1) award back pay,
front pay and compensatory damages sufficient to make Bamrick whole for her loss of
earnings, lost work opportunities, mental anguish and humiliation against Sam’s; (2) award
punitive damages sufficient to punish and deter Sam’s from similar future conduct; (3)
award reasonable attorney’s fees against Sam’s; (4) assess all costs against Sam’s; and
(5) for such other and further relief as the Court deems appropriate.


                  COUNT II – VIOLATION OF IOWA CIVIL RIGHTS ACT

          30.   Bamrick restates and realleges paragraph 1-30 as is fully set forth herein.

      31.       Bamrick suffered from one or more disabilities as defined by Iowa Code §
216.2(5).

       32.    Sam’s discriminated against Bamrick based on her disability in violation of
the Iowa Civil Rights Act, Iowa Code § 216.6.

        33.    Sam’s discriminated against Bamrick by retaliating against her for seeking
accommodation and/or for appealing the denial of her request for accommodation, in
violation of the Iowa Civil Rights Act, Iowa Code § 216.6.

       34.   As a direct result of Sam’s discrimination, Bamrick has suffered – and
continues to suffer – past lost wages, future lost wages, emotional distress, humiliation,
and pain and suffering.

        WHEREFORE, Plaintiff Deborah A. Bamrick respectfully requests that her
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                                                                 DEBORAH A. BAMRICK, Plaintiff

                                                           By:      /s/ Chadwyn D. Cox
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